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 1                 DECLARATION OF SPECIAL AGENT JUSTIN PALMERTON
 2            I, Special Agent Justin Palmerton, declare as follows:
 3            1.     I am a Special Agent with the FBI.
 4            2.     I personally participated in the inventorying of the contents of the safety
 5     deposit boxes at U.S. Private Vaults ("USPV"). While inventorying the contents of the
 6     safety deposit boxes, agents recovered drugs including fentanyl and OxyContin, firearms
 7     including a Glock, and a variety of ways of storing wealth anonymously, such as gold
 8     bullion and especially cash. Most of the boxes which were not empty contained stacks
 9     of $100 bills; many of the boxes were filled with such stacks. The largest boxes
10     typically contained over $1 million in cash each. Drug detecting dogs alerted to most of
11     the stashes of cash, but not all.
12            3.     There is no practice or policy of conducting a "criminal" investigation on
13     each box or request to return property, which are treated individually. No criminal
14     investigation is unde1iaken absent suspicion. Boxes containing suspiciously large sums
15     of cash to which drug detecting dogs alerted are likely to be criminally investigated,
16     while boxes containing items normally stored in a safety deposit box likely will not.
17            4.     The FBI has already verified that at least one request for return of the
18     contents of a box that the FBI received was actually made by a person who never rented
19     a box at USPV, and had no connection to USPV, but hoped for a windfall.
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    1            5.   The FBI has been returning contents to boxes to persons the
    2    FBI could verify as the owners. of the box and property in the box.
     3           I declare �nder penalty of perjury under the laws of the United
     4   States of America that the foregoing is true and correct and that
     5   this declaration is executed in Los Angeles, California on May 25,
     6   2021.
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